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                            IN THE UNITED STATES DISTRICT COURT
                            FOR THE EASTERN DISTRICT OF VIRGINIA
                                     Newport News Division

 GAVIN GRIMM,

      Plaintiff,

 v.                                                    Case No. 4:15-cv-54

 GLOUCESTER COUNTY SCHOOL
 BOARD,

      Defendant.


                        GLOUCESTER COUNTY SCHOOL BOARD’S
                          MOTION FOR SUMMARY JUDGMENT

          NOW COMES the defendant, Gloucester County School Board (“School Board”), by

 counsel, pursuant to Rule 56 of the Federal Rules of Civil Procedure, and hereby moves the

 Court for Summary Judgment in its favor. In support of this Motion, the School Board states

 that there is no genuine issue of material fact that would prevent Summary Judgment from being

 entered in its favor. The School Board hereby incorporates its Brief in Support of Summary

 Judgment as if fully set forth herein, along with the depositions and all other documents

 referenced in the Brief.

          WHEREFORE, defendant Gloucester County School Board respectfully requests that this

 Court grant its Motion for Summary Judgment, dismiss the plaintiff’s Second Amended

 Complaint in its entirety, and award it its costs and attorney fees in defending this matter.




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                                                           GLOUCESTER COUNTY SCHOOL
                                                           BOARD

                                                           By Counsel




 /s/
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                                       CERTIFICATE

        I hereby certify that on the 26th day of March 2019, I filed a copy of the foregoing

 document with the Clerk of the Court using the CM/ECF system, which will automatically send

 a Notice of Electronic Filing to all counsel of record.


                                               /s/
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